  Case: 4:21-cv-00205 Doc. #: 1 Filed: 02/18/21 Page: 1 of 11 PageID #: 1




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION
____________________________________
                                     )
JOHN DOE,                            )
                                     )
            Plaintiff,               )
                                     )     Case No.:_21-CV-205
      v.                             )
                                     )
WASHINGTON UNIVERSITY in ST.         )
LOUIS,                               )
                                     )
            Defendant.               )
                                     )
____________________________________)


                                COMPLAINT AT LAW

       Plaintiff, John Doe, by and through his undersigned attorneys, files this Complaint

against Defendant, Washington University in St. Louis (“University”), and in support

thereof, alleges as follows:

       1.      This is an action for declaratory relief and monetary damages arising out

of Defendant’s wrongful refusal to honor its contract with Plaintiff for a degree upon his

payment of the required tuition dues, and successful completion of the requirements for

an undergraduate degree.

       2.      Despite otherwise meeting the University’s criteria for graduation,

Defendant has ignored requests to issue Plaintiff his college diploma, thereby preventing

him from attending a top American law school where he was accepted.

                                       THE PARTIES




                                             1
  Case: 4:21-cv-00205 Doc. #: 1 Filed: 02/18/21 Page: 2 of 11 PageID #: 2




          3.    Plaintiff, John Doe, is, and always has been a citizen of Cook County,

Illinois. During some of the events described herein, Plaintiff was enrolled as a full time,

tuition-paying, undergraduate student at Washington University.

          4.    Defendant Washington University is a private university primarily located

in Missouri, with a principal address of One Brookings Dr., St. Louis, Missouri, 63130.

                                  JURISDICTION AND VENUE

          5.    The parties to this action are citizens of different states.

          6.    The amount in controversy exceeds $75,000. Defendant previously

removed a related case filed in the Circuit Court of Cook County, Illinois to the District

Court of the Northern District of Illinois by alleging this case’s value exceeds $75,000.

          7.    Based on the diversity of citizenship and the amount in controversy,

pursuant to 28 U.S. Code § 1332, this Honorable Court has original jurisdiction over this

matter.

          8.    Venue is proper in the United States District Court for the Eastern District

of Missouri because a substantial part of the events or omissions giving rise to Plaintiff’s

cause of action occurred in St. Louis, Missouri, and Defendant’s main campus is in St.

Louis, Missouri.

                                FACTS COMMON ALL COUNTS

          9.    In exchange for tuition payments and Plaintiff’s agreement to complete the

required courses, in return, Defendant promised Plaintiff the right to a degree/diploma.

          10.   Plaintiff promised to pay the required tuition and agreed to Defendant’s

terms, as recited on Defendant’s website under the title Undergraduate Degree

Requirements, which states as follows




                                               2
    Case: 4:21-cv-00205 Doc. #: 1 Filed: 02/18/21 Page: 3 of 11 PageID #: 3




        [T]o graduate from Washington University with a degree from the College
        of Arts and Sciences, you must complete a total of 120 units, at least 90 of
        which must be in Arts & Sciences coursework and 30 of which must be at
        the 300/400/500 level1.

        11.    After completing three years of full-time coursework, Plaintiff was on

track to graduate in the Spring of 2018 with a double major in English and Economics,

plus a minor in Writing. Defendant’s current requirements for English and Economics

majors and minors are substantially identical to those agreed to by Plaintiff in May 20142.

        12.    Prior to enrolling in courses for the Fall 2017 semester, Plaintiff met with

his Washington University guidance counselor who promised his proposed schedule for

Senior year would enable him to graduate with a degree if he passed all the courses he

planned on enrolling in over his final two semesters.

        13.    After successfully passing his final exams for his Spring 2018 courses,

Plaintiff had obtained 126 cumulative units of credit from Defendant, at least 90 of which

were in Arts & Sciences and 30 of which were at the 300/400/500 level. Over his four

years of undergraduate studies at Defendant, Plaintiff maintained a cumulative GPA of

3.82, and satisfied all the requirements for a degree contained in Exhibits A, B, and C.

        14.    Plaintiff’s GPA, high LSAT score, and his recommendation from

Washington University enabled Plaintiff to get accepted in Northwestern’s law school

where he planned to begin law school in the Fall of 2018, pending receipt of his degree.

        15.    Despite numerous requests for his official transcripts required by Plaintiff

to enroll at Northwestern’s law school, Defendant refused to provide Plaintiff with his

Spring 2018 grades and official transcripts until late January 2020.

1
  See EXHIBIT A –Undergraduate Degree Requirements – Washington University website,
https://artsci.wustl.edu/resources/undergraduate-degree-requirements.
2
  See EXHIBIT B – Economics Major & Minor Requirements, and EXHIBIT C – English Major
Requirements.


                                              3
  Case: 4:21-cv-00205 Doc. #: 1 Filed: 02/18/21 Page: 4 of 11 PageID #: 4




       16.     When Defendant finally provided Plaintiff with his transcripts, there was

no notation of his degree.

       17.     Despite completing the required credits, obtaining his official transcripts,

and sending Defendant the required $50 fee, on or around June 4, 2020, Defendant

informed Plaintiff that Defendant would not be mailing Plaintiff a diploma.

       18.     As of the date of the filing of this Complaint, Defendant has failed to

provide Plaintiff with his undergraduate degree, which prevented him from attending

Northwestern law school, and prevents him from obtaining a job that requires a degree.



                         COUNT 1 – BREACH OF CONTRACT

       19.     Plaintiff restates and re-alleges the allegations contained both above and

below as if fully incorporated and alleged herein.

       20.     At all relevant times, and pleading in the alternative to promissory

estoppel, an express or implied contractual relationship existed between Defendant and

Plaintiff through his matriculation as a student at Washington University, whereby

Plaintiff was required to pay his tuition, fees and other charges in exchange for the rights

to attend college courses and obtain an undergraduate degree from Defendant upon

completion of the 120 units necessary to obtain a diploma.

       21.     Throughout his four years at Washington University, Defendant never

required Plaintiff to agree to any modifications or alterations of the unambiguous contract

which provided Plaintiff an unconditional right to a degree on his transcript and a

diploma upon completion of 120 units and payment of the required fees.




                                             4
  Case: 4:21-cv-00205 Doc. #: 1 Filed: 02/18/21 Page: 5 of 11 PageID #: 5




       22.     Defendant drafted its Undergraduate Degree Requirements and failed to

include any terms that allow it to withhold a student’s degree and diploma if all academic

requirements were met and all required tuition payments were made.

       23.     In the alternative of pleading an express contract, an implied contract was

formed when Defendant accepted Plaintiff for enrollment and Plaintiff paid the required

tuition. The relevant terms of the contract are contained in EXHIBIT A.

       24.     Every semester between Fall 2014 and Spring 2018, the parties agreed that

if Plaintiff completed the required courses, Defendant must allow him to graduate and

must award him a degree. These promises were material to Plaintiff’s decision to

continue his enrollment at Defendant for eight semesters.

       25.     Plaintiff fully performed all his duties required in the contract with

Defendant to obtain his degree/diploma, but Defendant is denying Plaintiff’s benefit of

the bargain, the right to his degree from Washington University.

       26.     Apart from breaching its express contractual obligations, Washington

University breached and violated the covenant of good faith and fair dealing implied in

its contract with Plaintiff by acting arbitrarily, capriciously, and in bad faith by depriving

him of the benefit of his four years of hard work during which he compiled 126 units and

satisfied Defendant’s IQ curriculum.

       27.     As a direct, proximate, and foreseeable consequence of Defendant’s

material breaches, Plaintiff lost his acceptance to one of the most prestigious law schools

in the country, and his career prospects and earning potential have suffered irreparable

harm since he cannot get a job that requires a college degree.




                                              5
  Case: 4:21-cv-00205 Doc. #: 1 Filed: 02/18/21 Page: 6 of 11 PageID #: 6




       28.     As a result of Defendant’s wrongful breach of contract, Plaintiff has

sustained significant foreseeable damages, including but not limited to, damages to

physical well-being, emotional and psychological damages, damages to reputation, past

and future economic losses, loss of educational and professional opportunities, loss of

future career prospects, significant legal fees, and other direct and consequential

damages.

       29.     As a result of the foregoing, Plaintiff is entitled to his degree and diploma,

and as a result of defendant’s willful breach of contract, Plaintiff requests this Court order

Defendant to provide Plaintiff with a degree, award him his foreseeable monetary

damages caused by Defendant’s delay in giving him a degree, award punitive damages if

warranted, and award of any recoverable fees and costs allowed by the applicable laws.



                         COUNT 2 – PROMISSORY ESTOPPEL

       30.     Plaintiff restates and re-alleges the allegations contained both above and

below as if fully incorporated and alleged herein.

       31.     In the event this Court finds the promises and representations Defendant

made to Plaintiff regarding his right to obtain a degree upon completion of 120 units is

not a legally valid and enforceable contract, Plaintiff pleads in the alternative, a claim for

equitable promissory estoppel.

       32.     Defendant made unambiguous promises to Plaintiff, both before and

during his college career at Washington University, that by enrolling as a student, paying

the required tuition and fees, and completing the required coursework, Defendant would

put a notation of his degree on his transcripts and would mail Plaintiff his diploma.




                                              6
    Case: 4:21-cv-00205 Doc. #: 1 Filed: 02/18/21 Page: 7 of 11 PageID #: 7




         33.      Defendant’s website promised to mail Plaintiff a diploma if his transcripts

proved he satisfied all the academic requirements for a degree and he paid a $50 fee.

         34.      Plaintiff relied on such promises when he decided to enroll, and continued

to enroll for eight semesters, at Washington University.

         35.      Plaintiff’s reliance was expected and foreseeable by Defendant, especially

since Defendant knew Plaintiff was attempting to get into law school3.

         36.      Plaintiff has relied on Defendant’s promise to his detriment as Defendant

kept all the tuition money collected from Plaintiff, then breached its promise and

wrongfully withheld his degree, thereby preventing Plaintiff from attending law school

and/or from obtaining a job that requires a college degree.

         37.      As a result of the foregoing, Plaintiff is entitled to have this Court enforce

Defendant's promise and he respectfully requests this Court order Defendant to put a

notation of his degree on his transcripts and order Defendant to mail Plaintiff his

diploma.



                              COUNT 3 – UNJUST ENRICHMENT

         38.      Plaintiff restates and re-alleges the allegations contained both above and

below as if fully incorporated and alleged herein.

         39.      Plaintiff paid his tuition, enrolled in the required courses, and successfully

completed the courses Defendant agreed would satisfy the requirements for a degree.

         40.      Defendant accepted Plaintiff’s tuition payments for four years, allowed

him to complete the required credits for a degree, advertised “[T]here are no boundaries


3
 In the Fall of 2017, Defendant wrote Plaintiff a letter of recommendation that he required to be considered
for admission to Northwestern School of Law.


                                                     7
    Case: 4:21-cv-00205 Doc. #: 1 Filed: 02/18/21 Page: 8 of 11 PageID #: 8




to what you can achieve with a degree from Arts & Sciences,” then wrongfully withheld

his degree and refused to refund his tuition payments after deciding not to give Plaintiff

his degree and diploma.

        41.      Defendant promised Plaintiff a degree once he paid for, and successfully

completed, the required course credits.

        42.      Defendant has been unjustly enriched by an amount equal to all the tuition

monies collected from Plaintiff between 2014 and January 2019.

        43.      Fundamental fairness requires Defendant to return all of Plaintiff’s tuition

for his four years at the University, including any financial aid paid to Defendant by a

third party on Plaintiff’s behalf, so Plaintiff can afford any additional college courses that

he must complete to obtain a college degree from a comparable university4.

        44.      As a result of Defendant’s unjust enrichment, Plaintiff is entitled to

recover monetary damages equal to his four years of tuition payments, plus prejudgment

interest, attorneys' fees and costs as may be recoverable at law.



                                    COUNT 4 - NEGLIGENCE

        45.      Plaintiff repeats and re-alleges the foregoing allegations which are

incorporated by reference as if fully set forth herein.

        46.      In the alternative to pleading an intentional breach of contract,

Defendant’s negligent failure to issue a degree to Plaintiff was the proximate cause of

some of the damages claimed in this lawsuit.



4
 Although Plaintiff has completed the requirements for a degree at Washington University, comparable
schools, like Northwestern, would still require Plaintiff to attend Northwestern for an additional four
semesters before that school would give him an undergraduate degree.


                                                    8
  Case: 4:21-cv-00205 Doc. #: 1 Filed: 02/18/21 Page: 9 of 11 PageID #: 9




          47.   By accepting Plaintiff’s tuition money, allowing him to complete the

required course credits, agreeing to issue Plaintiff a degree, and offering to mail him a

diploma, Defendant voluntarily assumed a contractual duty to refrain from negligence

when reviewing Plaintiff’s transcript to determine if he satisfied the requirements for a

degree.

          48.   Defendant’s website offered to mail Plaintiff a diploma if he paid a $50

fee. On or around May 2020, Plaintiff completed an online request for his diploma and

sent Defendant the required $50 fee, thereby accepting Defendant’s offer to mail him a

diploma.

          49.   Plaintiff’s request for a degree was accidentally denied by Defendant’s

employee(s), who wrongfully believed he did meet the requirements for a diploma, so

some of Plaintiff’s damages claimed herein were proximately caused by Defendant’s

negligence in failing to issue a degree to a student that met the academic requirements

and sent the $50 diploma fee.

          50.   Defendant’s agents and employees had a duty to refrain from negligent

conduct, such as wrongfully denying Plaintiff’s request for his degree/diploma, when it

was foreseeable that such a conduct would proximately cause personal injuries to

Plaintiff.

          51.   As a direct and proximate cause of Defendant's negligent acts and

omissions, Plaintiff sustained physical harm and emotional distress.

          52.   As a result of Defendant’s negligence, Plaintiff has suffered damages

including pain and suffering and loss of normal life, he continues to suffer damages from




                                             9
Case: 4:21-cv-00205 Doc. #: 1 Filed: 02/18/21 Page: 10 of 11 PageID #: 10




conditions including post-traumatic stress disorder, and he will continue to suffer

damages in the foreseeable future.



                                PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court:

(a)    Declare that Washington University breached its contract(s) with Plaintiff;

(b)    Award Plaintiff compensatory damages in an amount that exceeds the
       jurisdictional limit, including without limitation, damages to physical well-being,
       physical harm, emotional and psychological damages, damages to reputation, past
       and future economic losses, loss of education and professional opportunities, loss
       of future career prospects, and other direct and consequential damages;

(c)    Award prejudgment interest;

(d)    Award all recoverable court costs necessarily incurred in prosecuting this lawsuit;
       and

(e)    Award such other further relief as this Court deems fair and just, including any
       required modifications to the Contract so Plaintiff is not unjustly denied his
       benefit of the bargain.


Respectfully Submitted By:



 /s/ John G. Covert
JOHN G. COVERT – #6285969IL

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                                            10
Case: 4:21-cv-00205 Doc. #: 1 Filed: 02/18/21 Page: 11 of 11 PageID #: 11




                             CERTIFICATE OF SERVICE

       I hereby certify that on this 18th day of February, 2021, the foregoing was served
via e-mail sent to Defendant’s General Counsel and filed electronically to be served by
operation of the CM/ECF system upon all counsel of record.

/s/ John G. Covert
John G. Covert




                                            11
